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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 UMG RECORDINGS, INC. ET AL.,

        Plaintiffs,

 v.                                                    Case No. 8:19-cv-00710-MSS-TGW


 BRIGHT HOUSE NETWORKS, LLC,

       Defendant.
 __________________________________

                                          ORDER

        THIS CAUSE comes before the Court for consideration of Plaintiffs’ Partial

 Objections to Two Discrete Rulings in Magistrate Judge Wilson’s January 9, 2020

 Discovery Order, (Dkt. 102), and Defendant Bright House Networks, LLC’s Response in

 opposition thereto. (Dkt. 109) Accordingly, upon review of the hearing and there being no

 written Order setting forth reasoning and analysis, the Court GRANTS IN PART and

 DENIES IN PART Plaintiffs’ Partial Objections to Two Discrete Rulings in Magistrate

 Judge Wilson’s January 9, 2020 Discovery Order. (Dkt. 102)

        In the Objection, Plaintiffs request that the Court reverse the denial of Plaintiffs’

 motion to compel Defendant to state the number of subscribers terminated for non-

 payment during the claim period. (Dkt. 102 at 2) Additionally, Plaintiffs request that the

 Court narrow the alleged overbroad order requiring Plaintiffs to produce a vast swath of

 licensing and distribution agreements which Plaintiffs assert have nothing to do with this

 case and would be “disproportionately burdensome” and “virtually impossible” to identify,

 collect, review and produce. (Id.)
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        Regarding Plaintiffs’ first request, one of Defendant’s principle lines of defense is

 that termination of infringers is untenable and essentially unconscionable because

 internet use is so ubiquitous and essential to the fabric of everyday life. (Dkt. 99 at 3) Yet,

 Plaintiffs contend that Defendant routinely terminates “innocent,” legitimate users of its

 internet platform if they cannot meet the financial obligations of said use. That evidence

 certainly is relevant information to support the Plaintiffs’ rejoinder to Defendant’s defense.

 Additionally, the Court finds no basis factually or legally for the limitation of discovery

 concerning Defendant’s termination of customers for non-payment. There is no undue

 burden or expense in doing so and no other way the Plaintiffs can secure the information.

 As such, it is discoverable, and Defendant is, therefore, DIRECTED to state under oath

 the number of subscribers terminated for non-payment during the claim period.

        Concerning Plaintiffs’ second objection, it is SUSTAINED IN PART without

 prejudice to Defendant’s right to seek additional discovery once limited discovery is

 provided. It is clearly burdensome for Plaintiffs to produce every license agreement during

 the claim period. Defendant does not even deny the burdensomeness but seems to argue

 that because the outside measure of the damages claims under a statutory model might

 yield a substantial “windfall” of a billion-plus dollar judgment (which undoubtedly is the

 aim of the Plaintiffs), no level of burden would warrant a limitation on discovery. However,

 that is not the standard or dispositive question when considering the relative balance of

 reasonableness against the question of undue burden.

        Federal Rule of Civil Procedure 26(b) provides the “Discovery Scope and Limits”

 dictated by the federal rules.

        (1) Scope in General. Unless otherwise limited by court order, the scope of
        discovery is as follows: Parties may obtain discovery regarding any
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        nonprivileged matter that is relevant to any party's claim or defense and
        proportional to the needs of the case, considering the importance of the
        issues at stake in the action, the amount in controversy, the parties’ relative
        access to relevant information, the parties’ resources, the importance of the
        discovery in resolving the issues, and whether the burden or expense of the
        proposed discovery outweighs its likely benefit. Information within this
        scope of discovery need not be admissible in evidence to be discoverable.

 FED. R. CIV. P 26(B). That is to say, proportionality, including in comparison to the amount

 in controversy, is recognized as a consideration, but so is burden and expense weighed

 against the likely benefit of the proposed discovery. In this regard, the comments to the

 rule make clear that “[i]t also is important to repeat the caution that the monetary stakes

 are only one factor, to be balanced against other factors.” FED. R. CIV. P 26 advisory

 committee’s note.

        Here it appears that while the undue burden of production was accepted, the outer

 limit of the potential recovery was the predominant consideration in granting the broad

 and burdensome discovery sought by the Defendant, even to the point of ignoring, without

 considering, the sworn, uncontroverted statements of fact witnesses concerning the

 question of burden except as specifically incorporated by Plaintiffs in the memorandum.

 (Dkt. 93; see also Dkt. 102-8 at 12‒33, 90:11-91:2) Accordingly, that portion of the Order

 is MODIFIED to require Plaintiffs to produce responsive, non-privileged documents in

 their possession, custody, or control sufficient to demonstrate that Plaintiffs are the legal

 and/or beneficial owners of an exclusive right under copyright to their respective

 copyrighted works-in-suit, to the extent such documents can be located following a

 reasonable and diligent search. Additionally, Plaintiffs SHALL produce copies of the core

 catalog-wide Agreements that Plaintiffs contend collectively account for approximately 90

 percent of each Plaintiff group’s total U.S. audio-only download and streaming revenue.
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        Once Defendant has received that level of discovery, it may request leave to seek

 additional discovery it if can demonstrate that the discovery it has received is insufficient

 and that the need for more discovery outweighs the burden to produce the tangential

 minutia that would potentially be discovered if “all license agreements” were sought out

 and produced.

        DONE and ORDERED in Tampa, Florida, this 22nd day of May, 2020.




 Copies furnished to:
 Counsel of Record
 Any pro se party
